            Case 17-31832                 Doc 24      Filed 01/18/18 Entered 01/18/18 04:15:18                  Desc Main
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                FILED & JUDGEMENT ENTERED
                          Steven T. Salata




                  January 18, 2018

                  Clerk, U.S. Bankruptcy Court
                 Western District of North Carolina




                                               UNITED STATES BANKRUPTCY COURT
                                          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                                        Charlotte Division
IN RE:
         Edwin E Billingsley                                                            Chapter 13
         Tonja M Billingsley
                                                                                        CASE NO: 17-31832
         SSN#: XXX-XX-5273
         SSN#: XXX-XX-8956
                                                        ORDER CONFIRMING PLAN
THIS CAUSE COMING ON FOR HEARING BEFORE THE UNITED STATES BANKRUPTCY COURT for consideration of a Chapter 13
plan proposed by the above-referenced debtors and upon the recommendation of the Chapter 13 trustee, the Court hereby finds
and concludes as follows:

1. The debtors have proposed a plan, including all pre-confirmation modifications to the proposed plan as were filed, and including
any motions for valuation of security and lien avoidance as may be contained in the plan, all of which are incorporated by reference
herein.

2. Notice of the proposed plan, including any modifications to the plan and any motions as referenced hereinabove, was properly
given to all necessary parties in interest.

3. The proposed plan, with any modifications and motions included in the proposed plan, complies with all applicable provisions of
the Bankruptcy Code, Bankruptcy Rules, and Local Rules.

    Based upon the foregoing, IT IS HEREBY ORDERED as follows:

1. The proposed plan of the debtors, with any modifications, is CONFIRMED.

2. Any motions for valuation of security and/or lien avoidance are GRANTED.

3. The trustee shall receive and disburse funds pursuant to the terms of the confirmed plan, applicable provisions of title 11, U.S.C.,
and any relevant administrative orders of the Court now in effect and that may be entered in the future.

4. All Real Property Creditors who receive Conduit Payments from the Trustee shall Credit the First Conduit Payment as follows:

           OCWEN LOAN SERVICING, LLC                                       March 2018                     Court Claim #

  Any party in interest who objects to this Disbursement Credit Date shall file such objection with the Clerk of Court within fifteen (15)
days of the date of entry of this order. The Court shall schedule a hearing with notice to all affected parties in interest on any such
objections that are timely filed.

5. The plan payments and term are $2,043.00 monthly for 60 months.

Plan Summary Docket #(s): 6

This Order has been signed electronically, pursuant                 to           Laura T. Beyer
administrative order of the Court. Effective as of date of entry.                UNITED STATES BANKRUPTCY COURT JUDGE
